Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 1 of 19
Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 2 of 19
Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 3 of 19
Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 4 of 19
Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 5 of 19
Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 6 of 19
Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 7 of 19
Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 8 of 19
Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 9 of 19
Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 10 of 19
Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 11 of 19
Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 12 of 19
Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 13 of 19
Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 14 of 19
Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 15 of 19
Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 16 of 19
Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 17 of 19
Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 18 of 19
Case 3:97-cr-00040-FDW   Document 499   Filed 03/07/06   Page 19 of 19
